                                                                                 Exhibit D




Formal Judicial Complaint Against Judge Eric W. Godderz

For Systemic Denial of Procedural Safeguards, Judicial Misconduct, Delegation of Judicial
Authority, Retaliation, ADA Violations, and Abuse of Power

Introduction: Systemic Corruption and Denial of Justice

Judge Eric W. Godderz has orchestrated a judicial environment in Anderson County District
Court that systematically denies procedural safeguards, violates ethical and legal obligations, and
facilitates a corrupt "shadow court" controlled by Guardian ad Litem Andrew Bolton and
opposing counsel Breanne Poe. By failing to adhere to the Kansas Code of Judicial Conduct
(601B Rules), specifically Rules 1.1, 1.2, 2.2, 2.5, 2.6, 2.8, 2.9, 2.11, and 3.1, Judge Godderz has
allowed rulings to be predetermined, evidence suppressed, and litigants silenced, violating
fundamental rights under the Fourteenth Amendment’s Due Process Clause, 42 U.S.C. §
1983, and ADA Title II protections under 42 U.S.C. § 12132. These violations extend to the
First Amendment’s protections against retaliation for asserting rights and are contrary to the
principles of impartiality and fairness outlined in Canon 2 of the Model Code of Judicial
Conduct and the Kansas Constitution’s guarantee of open courts and equal justice under
Article 2, Section 1. Furthermore, Judge Godderz’s conduct infringes on Maxim Rights of
equity, which dictate that justice should be free from bias, corruption, and undue influence, and
the Bill of Rights’ guarantees of access to courts, due process, and fair treatment. His refusal
to issue judicial orders, provide transcripts, or admit evidence breaches judicial immunity as
these actions are ministerial duties that exceed discretionary judgment, violating Goldberg v.
Kelly, 397 U.S. 254 (1970) and Tennessee v. Lane, 541 U.S. 509 (2004).

The foundation of this complaint lies in the systemic denial of procedural safeguards, fostering
corruption and shielding judicial misconduct from scrutiny. Judge Godderz’s improper
delegation of judicial duties to the Guardian ad Litem (GAL), biased favoritism toward opposing
counsel, and retaliation against me for filing ethics complaints reflect a calculated effort to harm
litigants and obstruct justice. By failing to issue judicial orders after hearings, including the
critical hearing on July 15, 2024, Judge Godderz created a procedural void where the GAL
operated without accountability, wielding judicial authority in direct violation of Kansas Stat. §
60-247 and Rule 2.5. This allowed the GAL to initiate emergency motions, such as removing my
parenting time, without judicial oversight, directly violating my son’s rights under the ADA Title
II. The refusal to issue judicial orders, admit evidence, or provide transcripts insulated these
procedural failures from scrutiny, foreclosing appellate review and compounding procedural
bias. Without judicial orders, the denial of my ADA accommodations and my son’s therapeutic
needs became unchallengeable, exacerbating the harm caused by the GAL’s unchecked actions.
The judge’s failure to admit evidence, including critical records related to my son’s
psychological trauma and anxiety, further dismissed ADA accommodation requests without
justification. These procedural failures represent a systemic abdication of judicial duties and were
both the cause and enabler of the retaliatory, biased, and discriminatory actions detailed in this
complaint.

This complaint does not challenge the substance of the rulings themselves but focuses on the
judge’s ethical misconduct and procedural violations, including bias, retaliation, and the
abdication of judicial duties, which fall squarely within the Commission’s purview under the
Brochure of Conduct. Judge Godderz’s repeated retaliation for my ADA-protected activities
and ethics complaints, as well as his clear bias favoring opposing counsel and the GAL, violated
impartiality standards under Rules 2.3 and 2.11. His refusal to ensure procedural safeguards and
ADA accommodations directly harmed my son, who suffers from diagnosed psychological
trauma and anxiety, and violated the judge’s ethical obligation to ensure fairness and protect
vulnerable litigants. These failures represent a direct breach of Maxim Rights, which demand
equity, fairness, and impartiality in judicial proceedings. By prioritizing personal bias and
procedural shortcuts over these fundamental principles, Judge Godderz undermined the integrity
of the judicial process, leaving my son and me without access to justice. The denial of procedural
safeguards, including issuing judicial orders, providing transcripts, and admitting evidence,
violated the Maxim Rights principle of equity, which mandates justice must be impartial,
accessible, and protective of the most vulnerable.




Allegations of Misconduct and Key Violations

The following allegations establish a clear pattern of systemic misconduct anchored in the denial
of procedural safeguards, creating a "shadow court" that violates state and federal laws,
constitutional rights, and the Kansas Code of Judicial Conduct (601B Rules). These violations
are compounded by retaliation, delegation of judicial duties to non-judicial officers, and
discriminatory practices.


1. Denial of Procedural Safeguards: The Anchor of Misconduct

Rules Violated: 2.5 (Competence, Diligence, and Cooperation), 2.6 (Ensuring the Right to
Be Heard), 2.8 (Decorum, Demeanor, and Communication);

Constitutional Rights Violated: Fourteenth Amendment’s Due Process Clause, Americans
with Disabilities Act (ADA) Title II, 42 U.S.C. § 12132 (Prohibition of Discrimination by
Public Entities);

Maxim Rights of equity, ensuring justice is free from bias and undue influence;

Legal Precedent: Goldberg v. Kelly, 397 U.S. 254 (1970): Procedural due process requires
that individuals be afforded an opportunity to present evidence and receive a fair hearing;

Tennessee v. Lane, 541 U.S. 509 (2004): Ensures equal access to courts for individuals with
disabilities.
Following hearings on July 15, 2024, September 21, 2024, and October 7, 2024, Judge Godderz
failed to issue signed judicial orders documenting his rulings, leaving critical decisions
undocumented, foreclosing appellate review, and insulating procedural irregularities from
scrutiny. This lack of documentation significantly impacted my ability to appeal unjust rulings
and denied my son, who suffers from diagnosed psychological trauma and anxiety, critical
protections under the Americans with Disabilities Act (ADA). The judge refused to admit
essential evidence, including affidavits, medical records, and witness testimony, obstructing the
creation of a complete record and violating the Kansas Constitution’s guarantee of open courts
under Article 2, Section 1. On July 17, 2024, I requested transcripts of the hearings to support my
son’s ADA accommodations, but the judge required a formal motion and subsequently ignored it
after its filing on October 30, 2024, further denying my son and me access to the procedural
safeguards required for meaningful participation. The court’s refusal to accommodate ADA-
protected needs—such as extended hearing times necessary for my son to manage his mental
health challenges and my own ADHD, as well as the extension request after my attorney’s death
—constituted a direct violation of Title II of the ADA, 42 U.S.C. § 12132, and the protections
established in Tennessee v. Lane, 541 U.S. 509 (2004). These ADA violations, compounded by
procedural failures, obstructed our access to due process and foreclosed on essential rights
guaranteed under the Bill of Rights, creating a pattern of negligence, bias, and systemic
discrimination that undermined the judiciary’s role as a fair and impartial forum for justice.


2. Delegation of Judicial Duties to the GAL

Rules Violated: 2.5 (Competence, Diligence, and Cooperation), 2.2 (Impartiality and
Fairness), 3.1 (Avoiding Abuse of Judicial Office); Constitutional Rights Violated:
Fourteenth Amendment Equal Protection Clause; Maxim Rights of equity, which prohibit
abdication of responsibility by a judicial officer; Legal Precedent: Tumey v. Ohio, 273 U.S.
510 (1927): Delegation of judicial power to a biased or unauthorized party violates due
process; Kansas Stat. § 60-247: Prohibits improper delegation of judicial authority to non-
judicial officers; ADA Violations: Title II, 42 U.S.C. § 12132, and Tennessee v. Lane, 541
U.S. 509 (2004): Mandates courts to ensure equal access for individuals with disabilities.

Judge Godderz’s improper delegation of judicial authority to Guardian ad Litem (GAL) Andrew
Bolton enabled the GAL to operate as a de facto judge, unchecked and without accountability, in
violation of constitutional, statutory, and ADA protections. Despite the GAL beginning to bill on
July 16, 2024, Judge Godderz did not formalize the GAL’s appointment until July 26, 2024,
creating a procedural void that allowed the GAL to wield undue authority without judicial
oversight. On July 29, 2024, the GAL filed an emergency motion suspending my parenting time
and granting sole legal custody to the father. This motion was treated as a court order without
proper judicial review or oversight, forcing my 14-year-old son—diagnosed with psychological
trauma and anxiety—into a traumatic confrontation on the front steps of his home, where he
fought for himself for 2.5 hours against going with his father, despite his mental disabilities.
Video evidence from a RING camera documents the incident.

On August 14, 2024, the GAL removed my son’s established therapist, Alison Dean, without
cause and replaced her with Andrea Dunseth, a therapist aligned with the GAL’s agenda,
exacerbating my son’s psychological distress. This action led to a panic attack on August 15,
2024, during which my son injured his hand as his father tried to forcibly grab his cell phone
while he called for help. Despite police officers on the scene noting the potential need for an
ambulance, and consistent reports of physical abuse to mandated reporters, including my son’s
journal entries, the GAL falsely denied that any abuse occurred. I was not informed about the
abuse for a week, leaving me unable to advocate for my son’s safety.

The GAL’s coercive and threatening behavior further exacerbated the harm inflicted on my son
and me, compounding his psychological trauma and violating multiple protections under state
and federal law, including ADA Title II, which guarantees procedural accommodations for
individuals with disabilities. The GAL threatened my son, stating that if he continued to email
his grandmother about what was happening to him at his father’s home, "it is making everything
worse and he will get his mom in more trouble." This tactic was aimed at silencing my son, a
child with diagnosed psychological trauma and anxiety, and isolating him from his support
network, thereby worsening his mental health. Additionally, the GAL threatened to terminate my
parental rights and place my son in foster care because I raised my hand during a hearing, an
action devoid of any legal or factual justification. The GAL also threatened me with
psychological evaluations, despite a complete lack of evidence of wrongdoing, as a means to
intimidate and punish me for advocating for my son’s safety. These coercive and retaliatory
measures, which sought to silence both my son and me while shielding the abuse he endured,
violate not only ADA Title II protections but also my son’s right to therapeutic continuity and
emotional safety. This pattern of intimidation and systemic negligence inflicted significant
emotional, mental, and psychological harm, highlighting the GAL’s abuse of authority and the
judge’s failure to intervene or hold the GAL accountable.The GAL’s routine issuance of motions
treated as court orders, without judicial review, undermined the constitutional principle of
separation of powers, violated Rule 2.5, and abdicated judicial responsibility to a biased and
unauthorized party. This failure to protect my son’s mental health, compounded by intimidation
and systemic negligence, inflicted significant emotional, mental, and psychological harm on both
him and me, undermining the integrity of the judiciary.



3. Retaliation for Ethics Complaints and Legal Advocacy

Rules Violated: 2.3 (Bias, Prejudice, and Harassment), 2.11 (Disqualification), 3.6
(Ensuring Judicial Independence); Constitutional Rights Violated: First Amendment
protections against retaliation, Fourteenth Amendment’s Equal Protection Clause, ADA
Title II, 42 U.S.C. § 12132 (Prohibition of Discrimination by Public Entities); Legal
Precedent: Caperton v. A.T. Massey Coal Co., 556 U.S. 868 (2009): Judges must recuse
themselves when impartiality is compromised or when actions demonstrate bias or
retaliation; Tennessee v. Lane, 541 U.S. 509 (2004): Courts must provide reasonable
accommodations to ensure equal access for individuals with disabilities.

Judge Eric W. Godderz engaged in retaliatory conduct and demonstrated clear bias following my
firing of attorney Daniel Schowengerdt and the filing of an ethics complaint against him. On
September 27, 2024, Judge Godderz issued an unusual “Withdraw Order to Withdraw”,
effectively reinstating my former attorney despite his withdrawal nearly a year earlier in
December 2023, allowing him to continue receiving court filings and maintaining inappropriate
influence over the case. During hearings, Judge Godderz repeatedly referenced the number of
attorneys I have retained in a demeaning manner, implying instability or fault on my part,
reflecting personal bias and animosity.

The judge also facilitated exclusive meetings between the Guardian ad Litem (GAL), opposing
counsel Breanne Poe, and the father, while ignoring my documented attempts to communicate
with the GAL. These exclusive meetings led to decisions that consistently favored the opposing
side, demonstrating clear collusion, retaliation, and partiality. Compounding this, the judge
refused to accommodate ADA-protected needs, including my request for extended hearing times
and support for my ADHD, and my son’s documented psychological trauma and anxiety, which
required procedural modifications under ADA Title II protections. By ignoring my ADA-related
requests, Judge Godderz further restricted my ability to participate meaningfully in the case and
denied my son accommodations that would ensure his safety and emotional stability.

These actions not only violated First Amendment protections against retaliation for
exercising my legal rights but also denied me and my son the equal protection guaranteed
under the Fourteenth Amendment. The judge’s conduct undermined judicial independence,
violated procedural fairness, and imposed discriminatory barriers that exacerbated harm. This
pattern of bias and negligence warrants immediate investigation, recusal under Rule 2.11, and
disciplinary action consistent with the principles set forth in Caperton v. A.T. Massey Coal Co.
and Tennessee v. Lane.




4. ADA Violations and Discrimination

Rules Violated: 2.3 (Bias, Prejudice, and Harassment), 2.15 (Responding to Judicial
Misconduct);

Constitutional Rights Violated: Title II of the Americans with Disabilities Act (ADA), 42
U.S.C. § 12132; 42 U.S.C. § 12203 (ADA Retaliation);

Legal Precedent: Tennessee v. Lane, 541 U.S. 509 (2004): Courts must provide reasonable
accommodations to ensure access to justice for individuals with disabilities.

Judge Eric W. Godderz systematically denied reasonable accommodations required under the
ADA, directly harming my ability to participate meaningfully in court proceedings and
exacerbating the harm inflicted on my son, who suffers from psychological trauma and anxiety.
After my attorney’s death, I requested an extension for preparation as an ADA accommodation to
ensure adequate time to address the complexities of my case, particularly given my own ADHD
and my son’s mental health needs. Judge Godderz ignored this request and proceeded with
hearings, in direct violation of Title II of the ADA and the principles set forth in Tennessee v.
Lane. Furthermore, the judge’s retaliatory actions, which included severing contact between my
son and me and imposing punitive measures, were taken following my filing of an ethics
complaint against a former attorney. These actions not only violated 42 U.S.C. § 12203, which
prohibits retaliation for engaging in ADA-protected activities, but also denied my son critical
accommodations, such as extended time for decision-making processes and protections to ensure
his emotional safety. Instead of addressing my son’s documented psychological trauma and
anxiety, the judge imposed punitive rulings that silenced his voice and disregarded his
therapeutic needs. These failures denied my son equal access to justice and created barriers that
heightened his psychological distress, violating both constitutional protections of due process
and the ADA’s mandate to ensure fairness and accessibility in judicial proceedings. Judge
Godderz’s actions reflect a pattern of bias, retaliation, and systemic neglect, warranting
immediate investigation and accountability under Rule 2.15.


5. Dismissal of Protective Order Despite Evidence

Rules Violated: 2.2 (Impartiality and Fairness), 2.6 (Ensuring the Right to Be Heard);

Constitutional Rights Violated: Fourteenth Amendment’s Due Process Clause;

ADA Title II, 42 U.S.C. § 12132;

Maxim Rights of justice to protect vulnerable individuals from harm.

During the July 15, 2024, trial date, Judge Eric W. Godderz dismissed my protective order filing
despite credible evidence of child pornography, neglect, and abuse, including reports from the
crisis center and other professionals. The judge flippantly stated, “If I dismiss the case, she will
just file again, and this will never end,” demonstrating a lack of impartiality and fairness, as well
as disregard for the welfare of my son, who suffers from diagnosed psychological trauma and
anxiety. The dismissal not only ignored this critical evidence but also placed my son at
heightened risk by failing to acknowledge the necessity of protective measures. Additionally, by
refusing to consider my son’s mental disability and need for safeguards under ADA Title II, the
judge violated his obligation to provide accommodations ensuring equal access to justice. My
son’s trauma and anxiety required therapeutic stability and a safe environment, which the court
failed to provide, instead exposing him to further harm. This decision was not only a violation of
Rule 2.6, ensuring the right to be heard, but also a breach of the Fourteenth Amendment’s Due
Process Clause, which guarantees protections against arbitrary and harmful judicial actions. The
judge’s failure to consider ADA protections for my son’s disability compounded the harm,
reflecting a pattern of bias and neglect that endangered a vulnerable child and undermined the
judiciary’s role as a protector of justice.


6. Breach of Judicial Immunity

Rules Violated: 1.1 (Compliance with the Law), 1.2 (Promoting Confidence in the
Judiciary);
Legal Precedent: Forrester v. White, 484 U.S. 219 (1988): Judicial immunity does not
extend to non-judicial acts such as administrative failures or procedural denials that violate
constitutional rights;

Kansas Supreme Court Rule 611: Allows for removal or suspension when judicial
misconduct compromises impartiality and competence;

ADA Violations: Title II, 42 U.S.C. § 12132, and Tennessee v. Lane, 541 U.S. 509 (2004):
Courts must ensure equal access for individuals with disabilities.

Judge Eric W. Godderz’s refusal to issue judicial orders, admit evidence, or provide transcripts
represents a failure of ministerial duties that far exceeds the protections of judicial immunity and
violates procedural safeguards required under state and federal law. These non-discretionary
duties are fundamental to the administration of justice and directly impact my ability to advocate
for my son, who suffers from psychological trauma and anxiety. By failing to document rulings,
admit evidence such as affidavits and medical records, or provide transcripts despite my formal
requests, the judge obstructed our access to due process and insulated procedural irregularities
from scrutiny. This failure is particularly egregious given my son’s mental disability, as these
procedural deficiencies denied him accommodations mandated under ADA Title II, such as
procedural modifications and equal access to justice. The refusal to issue orders or transcripts
also prevented appellate review and foreclosed my ability to seek relief for the ongoing harm to
my son. These actions violate Rule 1.1 by failing to uphold the law, undermine public confidence
in the judiciary in violation of Rule 1.2, and breach the safeguards established by the
Fourteenth Amendment’s Due Process Clause. The judge’s neglect of administrative
responsibilities and failure to account for ADA protections reflect a disregard for his duty to
ensure impartiality and competence, warranting removal or suspension under Kansas Supreme
Court Rule 611.



Conclusion

The allegations presented demonstrate a systemic and deliberate pattern of judicial misconduct
by Judge Eric W. Godderz, rooted in the denial of procedural safeguards and reinforced by
retaliation, delegation of judicial authority, and ADA violations. This misconduct begins with his
failure to issue judicial orders, provide transcripts, and admit evidence not only obstruct justice
but also foreclosed appellate review, creating a procedural void that enabled unchecked
misconduct by GAL. These failures enabled a shadow court, where the GAL wielded unchecked
authority, issuing motions treated as orders and further isolating my son—who suffers from
psychological trauma and anxiety—from the protections he desperately needs. This
disproportionately harmed my son, who suffers from psychological trauma and anxiety, and
violated ADA Title II protections by denying him the accommodations and procedural
modifications necessary for his participation in the judicial process.

Judge Godderz’s actions also violated ADA Title II by refusing to accommodate my son’s
disabilities and retaliating against me for filing an ethics complaint. His retaliatory actions
severed my contact with my son, compounded emotional harm, and denied procedural fairness,
all while insulating his rulings from scrutiny. By delegating judicial authority to the GAL,
issuing retaliatory rulings, and ignoring ADA accommodation requests, Judge Godderz violated
Rules 1.1, 2.2, 2.3, 2.5, 2.6, 2.11 and 2.15, as well as constitutional protections under the
Fourteenth Amendment’s Due Process Clause. These actions also breached Maxim Rights,
which demand equity, fairness, and impartiality in judicial proceedings, and undermined public
confidence in the judiciary. This systemic misconduct warrants immediate formal proceedings
under Kansas Supreme Court Rule 611, referral of ADA violations to federal authorities, and the
implementation of procedural reforms to restore fairness and transparency to Kansas family
courts to restore justice, ensure accountability, and prevent further harm to me, my son, and the
integrity of Kansas family courts.




Requested Actions

1. Initiation of Formal Proceedings
Pursuant to Kansas Supreme Court Rule 611, initiate disciplinary proceedings to address
systemic misconduct by Judge Eric W. Godderz, including retaliation against litigants, denial of
due process, failure to issue judicial orders, refusal to admit evidence, and improper delegation
of judicial authority to the Guardian ad Litem (GAL). These proceedings should examine
whether his conduct compromises judicial impartiality and undermines the integrity of the
judiciary, warranting suspension, removal, or other appropriate disciplinary measures.

2. Oversight and Accountability
Require the Kansas Supreme Court to review Judge Godderz’s failure to fulfill ministerial duties,
including issuing signed judicial orders following hearings, providing transcripts to litigants, and
overseeing GAL actions. Ensure that these actions align with the responsibilities outlined in the
Kansas Code of Judicial Conduct (601B Rules) and the judicial mandate to safeguard due
process and procedural fairness.

3. Address ADA Violations
Refer documented violations of the Americans with Disabilities Act (ADA) to appropriate state
and federal agencies, including the DOJ Civil Rights Division, for investigation. This referral
should focus on Judge Godderz’s failure to provide reasonable accommodations for my ADHD
and my son’s diagnosed psychological trauma and anxiety, as well as retaliatory actions taken
against me for filing an ethics complaint.

4. Implementation of Procedural Reforms
Mandate reforms to improve transparency and procedural fairness in court processes. Require
that all court orders are formally signed by the judge to ensure accountability and prevent
improper delegation of authority. Additionally, ensure timely and accessible transcripts for
litigants to safeguard the right to appeal and facilitate procedural oversight.

These actions are necessary to uphold the integrity of Kansas family courts, protect vulnerable
litigants, and restore public confidence in the judiciary.
